              20-10103-jlg
     Fill in this                   Docyour
                  information to identify 1 case:
                                              Filed     01/16/20         Entered 01/16/20 08:33:13                    Main Document
                                                                        Pg 1 of 19
     United States Bankruptcy Court for the:

     Southern District of New
     ____________________        York
                           District of _________________
                                       (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                               Chapter 7
                                                            
                                                            ✔
                                                            
                                                                Chapter 11
                                                                Chapter 12
                                                                                                                                         Check if this is an
                                                               Chapter 13                                                                  amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        El San Juan City Island on 5th Ave LLC
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               1429 5th Ave                                             _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number     Street

                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               New York                      NY    10035
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               New York County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)               ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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                                                                            Pg 2 of 19
                El San Juan City Island on 5th Ave LLC
Debtor          _______________________________________________________                               Case number (if known)_____________________________________
                Name



                                                A. Check one:
7.    Describe debtor’s business
                                                 Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                 Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                 Railroad (as defined in 11 U.S.C. § 101(44))
                                                 Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                 Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                 Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                                
                                                ✔ None of the above




                                                B. Check all that apply:

                                                 Tax-exempt entity (as described in 26 U.S.C. § 501)
                                                 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                   § 80a-3)
                                                 Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                                   See http://www.naics.com/search/ .
                                                   722511
                                                   _________

8.    Under which chapter of the                Check one:
      Bankruptcy Code is the
      debtor filing?                             Chapter 7
                                                 Chapter 9
                                                
                                                ✔ Chapter 11. Check all that apply:

                                                              ✔   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                    insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                                    4/01/22 and every 3 years after that).
                                                                
                                                                ✔      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor
                                                                    is a small business debtor, attach the most recent balance sheet, statement
                                                                    of operations, cash-flow statement, and federal income tax return or if all of these
                                                                    documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                                    A plan is being filed with this petition.

                                                                    Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                    in accordance with 11 U.S.C. § 1126(b).

                                                                    The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                    Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                    Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                    for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                                    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                    12b-2.
                                                 Chapter 12

9.    Were prior bankruptcy cases                No
      filed by or against the debtor
                                                 Yes.              SDNY
                                                          District _______________________       03/27/2019 Case number _________________________
                                                                                           When _______________          19-10904-mg
      within the last 8 years?
                                                                                                MM / DD / YYYY
      If more than 2 cases, attach a                                SDNY                                                 19-13192-jlg
                                                                                                 10/07/2019 Case number _________________________
      separate list.                                      District _______________________ When _______________
                                                                                                MM / DD / YYYY

10.   Are any bankruptcy cases                   No
      pending or being filed by a
      business partner or an                     Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                            District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                               MM / DD / YYYY
      attach a separate list.                             Case number, if known ________________________________


     Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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                                                                         Pg 3 of 19
              El San Juan City Island on 5th Ave LLC
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______     ________________
                                                                                City                                            State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             ✔


                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49
                                             ✔
                                                                               1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99                            5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000
                                             ✔
                                                                               $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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               El San Juan City Island on 5th Ave LLC
Debtor         _______________________________________________________                             Case number (if known)_____________________________________
               Name



                                            $0-$50,000                          $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000
                                            ✔
                                                                                 $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion


             Re que st for Re lie f, De c la ra t ion, a nd Signa ture s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of              The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                                petition.
      debtor
                                                I have been authorized to file this petition on behalf of the debtor.

                                                I have examined the information in this petition and have a reasonable belief that the information is true and
                                                correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              01/15/2020
                                                Executed on _________________
                                                            MM / DD / YYYY


                                            /s/ Manuel Vidal Jr.
                                                _____________________________________________               Manuel Vidal Jr.
                                                                                                           _______________________________________________
                                                Signature of authorized representative of debtor           Printed name

                                                       President
                                                Title _________________________________________




18.   Signature of attorney
                                            /s/ Norma Ortiz
                                                _____________________________________________              Date         01/15/2020
                                                                                                                        _________________
                                                Signature of attorney for debtor                                        MM   / DD / YYYY



                                                Norma Ortiz
                                                _________________________________________________________________________________________________
                                                Printed name
                                                Ortiz & Ortiz, LLP
                                                _________________________________________________________________________________________________
                                                Firm name
                                                3272 Steinway Street Ste 402
                                                _________________________________________________________________________________________________
                                                Number     Street
                                                Astoria
                                                ____________________________________________________            NY             11103
                                                                                                               ____________ ______________________________
                                                City                                                           State        ZIP Code

                                                7185221117
                                                ____________________________________                              email@ortizandortiz.com
                                                                                                               __________________________________________
                                                Contact phone                                                  Email address



                                                2206530                                                         NY
                                                ______________________________________________________ ____________
                                                Bar number                                             State




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
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      Fill in this information to identify the case:

                    El San Juan City Island on 5th Ave LLC
      Debtor name __________________________________________________________________

                                              Southern District of New York
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                          Check if this is an
      Case number (If known):    _________________________                                                                                    amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                        12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete            Name, telephone number,      Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code      and email address of         (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                              creditor contact             debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                           professional           unliquidated,   total claim amount and deduction for value of
                                                                           services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                           government
                                                                           contracts)
                                                                                                                  Total claim, if    Deduction for       Unsecured
                                                                                                                  partially          value of            claim
                                                                                                                  secured            collateral or
                                                                                                                                     setoff
     Operation Fightback, Inc.                                           Unpaid rent in dispute   Disputed
1    413 East 120th Street
     New York, NY, 10035
                                                                                                                                                       70,000.00


     Consolidated Edison
2    4 Irving Place
     New York, NY, 10003
                                                                                                                                                       16,327.00



3




4




5




6




7




8




    Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                 page 1
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                  El San Juan City Island on 5th Ave LLC
    Debtor       _______________________________________________________                     Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number,     Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   and email address of        (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                       professional           unliquidated,   total claim amount and deduction for value of
                                                                       services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                              Total claim, if    Deduction for       Unsecured
                                                                                                              partially          value of            claim
                                                                                                              secured            collateral or
                                                                                                                                 setoff


9




10




11




12




13




14




15




16




17




18




19




20




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                 page 2
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                              United States Bankruptcy Court
                              Southern District of New York




         El San Juan City Island on 5th Ave LLC
In re:                                                          Case No.

                                                                Chapter    11
                      Debtor(s)




                             Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




               01/15/2020                         /s/ Manuel Vidal Jr.
Date:
                                                  Signature of Individual signing on behalf of debtor

                                                  President
                                                  Position or relationship to debtor
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Consolidated Edison
4 Irving Place
New York, NY 10003


Internal Revenue Service
PO Box 7346
Centralized Insolvency Agency
Philadelpia, PA 19101-7346


NYS Dept of Tax And Finance
Bankruptcy Section
PO Box 5300
Albany, NY 12205-0300


Operation Fightback, Inc.
413 East 120th Street
New York, NY 10035
        20-10103-jlg
     B2030              Doc 1
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                                      United States Bankruptcy Court
                                                             Southern District of New York
                                               __________________________________
             El San Juan City Island on 5th Ave LLC
     In re
                                                                                                             Case No. _______________

    Debtor                                                                                                            11
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

    FLAT FEE
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
✔    RETAINER
                                                                                                                         0.00
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                         450.00
          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
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      d. [Other provisions as needed]
pursuant to the terms of the firm's retainer agreement with the Debtor.




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
pursuant to the terms of the retainer agreement with the Debtor. Excluded services include, but are not limited to, the commencement and defense
of adversary proceedings.
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                                             CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for
            payment to me for representation of the debtor(s) in this bankruptcy proceeding.

        01/15/2020                        /s/ Norma Ortiz, 2206530
      _____________________              _________________________________________
      Date                                     Signature of Attorney
                                          Ortiz & Ortiz, LLP
                                         _________________________________________
                                               Name of law firm
                                          3272 Steinway Street
                                          Ste 402
                                          Astoria, NY 11103
                                          7185221117
                                          email@ortizandortiz.com
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                                          United States Bankruptcy Court
IN RE:                                                               Case No.__________________
El San Juan City Island on 5th Ave LLC                                          11
__________________________________________________________ Chapter __________________

                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Tanya Vidal                                                 10 Percent
 ,




 Lisa Vidal                                                  10 percent
 ,




 Jay Cohen                                                   10 percent
 ,




 Manuel Vidal Jr                                             70 percent
 ,
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ORTIZ & ORTIZ, L.L.P.
32-72 Steinway Street, Ste. 402
Astoria, New York 11103
Tel. (718) 522-1117
Fax (718) 596-1302
email@ortizandortiz.com
Proposed Counsel to the Debtor


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------X
In re

EL SAN JUAN CITY ISLAND ON 5TH AVE., LLC.                             Case No.


                                    Debtor.                           Chapter 11
--------------------------------------------------------X

                    DECLARATION PURSUANT TO LOCAL RULE 1007-2

        Manny Vidal Jr., president of the above-captioned debtor in possession (the “Debtor”),

hereby swears as follows:

        1.       Describe the nature of the business and the circumstances leading to the debtor’s

filing under chapter 11: The Debtor operates a restaurant located in Manhattan. It has

experienced repeated problems with its landlord and has claims against its landlord. The Debtor

was unable to operate for many months after it acquired the restaurant because of, among other

things, significant misrepresentations made to the Debtor by the landlord regarding the condition

of the equipment and the physical space. The Debtor’s lease was terminated prior to the

bankruptcy filing.




                                                        1
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        The Debtor retained landlord and tenant counsel Gary J. Wachtel. Mr. Wachtel advised

me that he believes the Debtor has grounds to seek reinstatement of its lease. If the Debtor is able

to reinstate its lease, I believe it can successfully reorganize its affairs.

        2.      This case was not commenced under chapter 7 or chapter 13.

        3.      No committee of creditors was organized prior to the date the order for relief was

entered in this chapter 11 case.

        4.      Attached is a list of the names, addresses, telephone numbers, person(s) familiar

with the debtor’s account, amount of the claim, and whether the claim is contingent,

unliquidated, disputed, or partially secured of the Debtor’s 30 largest non-insider unsecured

creditors.

        5.      Attached is a list the names, addresses, telephone numbers, person(s) familiar with

the Debtor’s account, amount of the claim, and whether the claim is contingent, unliquidated,

disputed, or partially secured of the debtor’s 5 largest secured creditors.

        6.      I have summarized the Debtor’s assets and liabilities in the attached list.

        7.      The Debtor has no publicly held shares.

        8.      None of the Debtor’s property is in the possession or custody of any custodian,

public officer, mortgagee, pledgee, assignee of rents, or secured creditor.

        9.      The Debtor’s business is solely conducted on the Property.

        10.     I maintain the Debtor’s books and records in my home. The Debtor does not own

any assets outside the territorial limits of the United States.

        11.     I have been the sole shareholder and officer of the Debtor since it was created.

        13.     The Debtor has employees on payroll.


                                                    2
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          14.    I do not regularly take compensation from the Debtor.

          15.    I have set forth in the attached list a schedule, for the thirty (30) day period

following the filing of the chapter 11 petition, of the estimated cash receipts and disbursements,

net cash gain or loss, obligations and receivables expected to accrue but remain unpaid, other

than professional fees, and any other information relevant to an understanding of the foregoing.

          I hereby declare that the foregoing is accurate and true to the best of my knowledge and

belief.

Dated: Jan. 15, 2019
       New York, New York
                                                                   /s/ Manny Vidal
                                                                 Manny Vidal, President




                                                    3
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                                                       Exhibit A

                     Persons Familiar with Debtor’s Non-Insider Unsecured Claims

                     (List the names, addresses, telephone numbers, person(s) familiar with the debtor’s
                  account, amount of the claim, and whether the claim is contingent, unliquidated, disputed,
                       or partially secured of the Debtor’s 30 largest non-insider unsecured creditors.)


      Creditor                   Contact Information                   Amount of Claim                 Status of Claims
Con-Edison                                                             $16,327.00
IRS                                                                    $20,000.00
Operation Fightback,                                                   $70,000.00
Inc.
NYS Dept. of Tax                                                       $25,000.00




                               Persons Familiar with Debtor’s Secured Claims

                     (List the names, addresses, telephone numbers, person(s) familiar with the Debtor’s
                       account, amount of the claim, and whether the claim is contingent, unliquidated,
                           disputed, or partially secured of the debtor’s 5 largest secured creditors.)


      Creditor                   Contact Information                   Amount of Claim                 Status of Claims




                                        Summary of Assets and Liabilities




                                                              4
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Real Property                    None
Personal Property                $742,333.00


Secured and Priority             $41,327.00
Debt
Unsecured Debt                   $90,000.00


                          Estimated Thirty (30) Cash Receipts and Disbursements

               (Provide a schedule, for the thirty (30) day period following the filing of the chapter 11 petition,
               of estimated cash receipts and disbursements, net cash gain or loss, obligations and receivables
                expected to accrue but remain unpaid, other than professional fees, and any other information
                                         relevant to an understanding of the foregoing)


                       Income                                                                 Expenses
         Source                          Amount                                 Type                              Amount
Income                        $28,500.00                            Payroll                            $7,417.50 per month
                                                                    Rent                               $7,000.00 per month
                                                                    Electric/Gas                       $3,500.00 per moth
                                                                    Insurance                          $1,100.00 per month
                                                                    Restaurant Supplies                $450.00 per month
                                                                    Exterminator                       $85.00 per month
                                                                    Payroll Taxes                      $962.00 per month
                                                                    Liquor License Fee                 $379.00 per month
                                                                    Cable/Internet                     $552.00 per month
                                                                    Miscellaneous                      $1,078.50 per month
                                                                    Total                              $22,524.00 per month




                                                                5
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                   CERTIFICATE OF CORPORATE RESOLUTION OF

                            El San Juan City Island on 5th Ave LLC

      The undersigned, President of El San Juan City Island on 5th Ave LLC (the “President”),
a New York corporation (the "Company"), hereby certifies as follows:

1.     The following resolution was duly and unanimously adopted by a majority of the
       directors of the Company at a meeting duly called and held on 1/15/20 , at which a
       quorum of the directors was present and acting throughout the meeting, and said
       resolutions have not been amended and are in full force and effect:

               RESOLVED, that it is in the best judgment of the Board Of Directors that the
               Company commence a voluntary chapter 11 proceeding for reorganize its business
               and economic affairs. It is further

               RESOLVED, that the Company is authorized to open a debtor in possession bank
               account and take all other steps necessary to ensure that it fully complies with
               applicable state and federal in connection with its bankruptcy case. It is further

               RESOLVED, that the Company is authorized to retain Ortiz & Ortiz LLP as its
               bankruptcy counsel, and retain any other professionals necessary to prosecute its
               bankruptcy case.

2.     Appearing below are the names of the persons authorized by the foregoing resolution to
       act on behalf of the Company, and appearing opposite their names are their positions and
       specimens of their true and correct signatures:

       Name                          Position        Signature

       Manuel B. Vidal               Officer        S/Manny Vidal Jr.


IN WITNESS WHEREOF, I have executed this certificate on the 15th day of Jan. 2020. I swear
that the foregoing is accurate and true.

                                                            S/Manny Vidal Jr.
                                                            Secretary/President
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------X
In re

El San Juan City Island on 5th Ave LLC,                           Case No.


                                    Debtor.                       Chapter 11
--------------------------------------------------------X


    CORPORATE OWNERSHIP STATEMENT PURSUANT TO FED. R. BANKR. P.
           1007(a)(1) AND 7007.1 AND LOCAL BANKR. RULE 1007-3

        Pursuant Fed. R. Bankr. Proc. 1007(a)(1) and 7007.1 and Local Bankr. Rule 1007-3,

El San Juan City Island on 5th Ave LLC, as debtor and debtor in possession in the above

captioned chapter 11 case (the “Debtor”), respectfully represents:

        The undersigned, being an officer and shareholder of the Debtor, hereby states that there

are no entities that directly or indirectly own 10% or more of any class of the debtor’s equity

interest.



Dated: January 9, 2020
Queens, New York

                                                            _s/Manny Vidal Jr.
                                                            Manny Vidal, Officer
